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February 10, 2025



Dear Honorable Judge Weigand,



My name is Eliana Beigel and I am writing today in support of Mohamad Hamad. I am a resident of
Pittsburgh and a Pitt alumnus (MPA '22), and I am currently employed as a researcher at a small
local nonprofit. I am also Jewish.

I met Mohamad this past Spring and was immediately struck by his warm, friendly demeanor. He is
easygoing and approachable and loves to make people laugh. He has formed close friendships with
myself and other members of the Jewish community, and we have had many open and mutually
respectful conversations about our differing religious beliefs and cultural backgrounds.

In one of the first conversations we ever had, he explained to me that Islam teaches deep respect for
other faiths. He told me that it calls for Muslims to love their Jewish brothers and sisters, and he
embodies this principle. He has attended Shabbat dinners at our houses, and just days before he was
arrested he mourned with us for the 11 lives stolen in the Tree of Life massacre at a Jewish Kaddish
ceremony. Mohamad is a beloved member of our interfaith community.

He is also a self-taught mechanic who enjoys working on cars, and he has developed this skill even
further through his service in the Air Force Air National Guard. He specializes in aircraft hydraulic
systems and graduated from tech school this past January with a certificate of academic excellence.




He is a valuable member of society both to his family and friends here in Allegheny County and to the
United States as a whole through his military service.




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As a Jewish person, I am proud to call him a friend.

Thank you very much for taking the time to read this letter. I am just one of many in a support network
who can help him meet whatever restrictions or obligations the court sees fit to impose.



Sincerely,

Eliana Beigel




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